                                                                              EXHIBIT E

                         UNITED STATES BANKRUPTCY COURT
                            NORTHERN DISTRICT OF OHIO
                                 WESTERN DIVISION

In re:                                         )    Case No. 16-30245
                                               )
Deborah Lynn Garza                             )    Chapter 7
Noe Garza                                      )
                                               )    Judge John P. Gustafson
     Debtors.                                  )
                                               )    U.S. BANK NATIONAL
                                                    ASSOCIATION’S RELIEF FROM STAY
                                                    AND ABANDONMENT WORKSHEET

I.       LOAN DATA

         A.     IDENTIFICATION OF COLLATERAL (check all that apply):

                X     Real Estate: 2850 Manley Road, Maumee, OH 43537
                             Principal Residence of Debtor(s)
                             Other

                      Personal Property <- DESCRIPTION (Include ID or VIN number, as
                      applicable)>

                      Other Property <- DESCRIPTION>

         B.     2016 VALUE OF COLLATERAL: $223,700.00

         C.     SOURCE OF COLLATERAL VALUATION: Lucas County Auditor

         D.     ORIGINAL LENDER: First Mortgage Consultants, LLC

         E.     ENTITY ENTITLED TO ENFORCE THE NOTE: U.S. Bank National

                Association

         F.     CURRENT LOAN SERVICER: U.S. Bank National Association

         G.     DATE OF LOAN: 09/20/2006

         H.     ORIGINAL PRINCIPAL AMOUNT DUE UNDER NOTE: $200,000.00

         I.     ORIGINAL INTEREST RATE ON NOTE: 6.500%




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      J.       CURRENT INTEREST RATE: 6.500%

      K.       ORIGINAL MONTHLY PAYMENT AMOUNT
               (principal and interest only for mortgage loans): $1,264.14

      L.       CURRENT MONTHLY PAYMENT AMOUNT: $1,891.56

      M.       THE CURRENT MONTHLY PAYMENT AMOUNT LISTED ABOVE:

                      Includes an escrow amount of $<AMOUNT> for real estate taxes.
                      Includes an escrow amount of $<AMOUNT> for property insurance.
               X      Includes an escrow amount of $627.42 for taxes and insurance..
                      Does not include any escrow amount.

      N.       DATE LAST PAYMENT RECEIVED: 12/05/2013

      O.       AMOUNT OF LAST PAYMENT RECEIVED: $1,857.70

      P.       AMOUNT HELD IN SUSPENSE ACCOUNT: $0.00

      Q.       NUMBER OF PAYMENTS PAST DUE: 28

II.   AMOUNT ALLEGED TO BE DUE AS OF February 10, 2016

                    Description of Charge              Total         Number        Dates
                                                     Amount of      of Charges    Charges
                                                      Charges        Incurred     Incurred


      A.   PRINCIPAL                                $180,729.88


      B.   INTEREST                                 $27,700.26
      C.   TAXES (Escrow Advance:                   $16,438.75
           Includes Taxes & Insurance)
      D.   INSURANCE (MIP)                          $0.00


      E.   LATE FEES                                $0.00           N/A          N/A


      F.   NON-SUFFICIENT FUNDS FEES                $0.00           N/A          N/A


      G.   PAY-BY-PHONE FEES                        $0.00           N/A          N/A




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       H.   BROKER PRICE OPINIONS                   $0.00           N/A          N/A


       I.   FORCE-PLACED INSURANCE                  $0.00           N/A          N/A


       J.   PROPERTY INSPECTIONS                    $0.00           N/A          N/A


       K.   OTHER CHARGES                           $0.00           N/A          N/A
            (describe in detail and state
            contractual basis for recovering the
            amount from the debtor)


      TOTAL DEBT:                                           $224,868.89

      LESS AMOUNT HELD IN SUSPENSE:                         $0.00

      TOTAL DUE AS OF February 10, 2016 :                   $224,868.89 *
      * This total cannot be relied upon as a payoff quotation.

This Worksheet was prepared by:


LAURITO & LAURITO, L.L.C.


/s/ Nicholas E. O’Bryan                                             02/12/2016
Nicholas E. O’Bryan (0082711)                                       DATE
Attorney for Movant
7550 Paragon Road
Dayton, OH 45459
Telephone (937) 743-4878
Fax        (937) 743-4877
no’bryan@lauritolaw.com




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